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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA
ALEXANDRIA DIVISION

LEE CLEMENTS,
Case No. 1:18-cv-1493-TSE-MSN

Plaintiff,
VS.
CAPITAL ONE BANK (USA), N.A.

Defendant.

 

 

ORDER OF DISMISSAL
Plaintiff, Lee Clements (“Plaintiff”), and Defendant, Capital One Bank (USA), N.A.,
(“Defendant”), having filed a Joint Stipulation of Dismissal and the Court being otherwise
sufficiently advised,
IT IS HEREBY ORDERED that Plaintiffs complaint against Defendant is

DISMISSED with prejudice. Each party shall bear their own costs and attorney’s fees.

It is so ORDERED.

   
 

T.S. Ellis, HI
United States Disfrict Judge
